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From the desk of:
Olivia P. Kelly, Esq.

                                                                              July 22, 2024
VIA ECF
Hon. Valerie Figueredo
Daniel Patrick Moynihan
United States Courthouse
500 Pearl Street
New York, NY 10007-1312

        Re.    Gref v. Am. Int’l Indus., et al., 20-cv-05589

Dear Judge Figueredo,

        In furtherance of Plaintiff’s ongoing effort to resolve this matter and conserve judicial
resources, Plaintiff withdraws his experts’ reliance in this case on Moline, J. et al., “Exposure to
Cosmetic Talc and Mesothelioma,” Journal of Environmental Medicine and Toxicology, Vol. 18,
No. 1, January 2023 (“2023 Article”), which remains subject to pending motions. To be clear, this
article will no longer play any role in this action. Accordingly, Plaintiff respectfully requests that
all pending motions seeking additional discovery with respect to the Article, including non-party
Northwell Health’s motion to quash the subpoena served by the sole-remaining Defendant in this
action, American International Industries, be denied as moot.

        We thank the Court for its time and resources devoted to resolving these issues.


                                                                Respectfully yours,



                                                                 Olivia P. Kelly



cc:     All Counsel of Record (via ECF)
